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                     UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                           JAN 18 2023
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
ARNOLD CONTRERAS; et al.,                        No.    22-15388

                Plaintiffs-Appellants,           D.C. No. 2:18-cv-03495-SRB
                                                 District of Arizona,
 v.                                              Phoenix

ASARCO LLC; ASARCO RETIREE                       ORDER
MEDICAL PLAN,

                Defendants-Appellees,

 v.

LOCAL 627 BOILERMAKERS, IRON
SHIPBUILDERS, BLACKSMITH,
FORGER AND HELPERS; et al.,

      Cross-defendants-
      Appellants.

      Pursuant to the terms of the parties' stipulation (Docket Entry No. 22), the

appeal is dismissed without prejudice to reinstatement in the event the district court

fails to approve the settlement.

      Reinstatement shall be by notice filed by any party in this court and served

on the other parties and the Circuit Mediator within 28 days of the district court

fails to approve the settlement. If no notice of reinstatement is filed and served, the

appeal will be deemed dismissed with prejudice.
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A copy of this order shall serve as and for the mandate of this court.


                                       FOR THE COURT:


                                       By: Roxane G. Ashe
                                       Circuit Mediator




                                   2
